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                          UNITED STATES DISTRICT COURT
                                  District of Minnesota
IN RE: CATTLE AND BEEF ANTITRUST                          MDL No. 22-3031 JRT/JFD
LITIGATION

This Document Relates To: SPECHT
PLAINTIFFS

James Specht, Jerry Kelsey, Tad Larson,
                                                          JUDGMENT IN A CIVIL CASE
                                  Plaintiffs,
v.                                                        Case Number: 22-cv-2903 JRT/JFD
Cargill, Inc., JBS USA Food Company, Tyson
Fresh Meats, Inc., Tyson Foods, Inc., Swift
Beef Company, National Beef Packing
Company, LLC, JBS S.A., JBS Packerland,
Inc., Cargill Meat Solutions Corporation,
                                  Defendants.


_____________________________________________________________________________

☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

  IT IS ORDERED AND ADJUDGED THAT:


  1.   Plaintiffs’ Sherman Act and Packers and Stockyards Act claims are dismissed without

       prejudice;

  2.   Plaintiffs’ antitrust claims arising under the laws of Alabama, Arizona, Arkansas,

       California, Connecticut, District of Columbia, Hawaii, Illinois, Iowa, Kansas, Maine,

       Maryland, Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Hampshire, New
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     Mexico, New York, North Carolina, North Dakota, Oregon, Rhode Island, South Dakota,

     Tennessee, Utah, Vermont, West Virginia, and Wisconsin are dismissed without

     prejudice;

3.   Plaintiffs’ antitrust claims arising under the laws of Alaska, Colorado, and Idaho are

     dismissed with prejudice;

4.   Plaintiffs’ consumer protection claims arising under the laws of Arizona, California,

     Colorado, Florida, Illinois, Nevada, New Mexico, New York, North Carolina, Oregon,

     Tennessee, and Wisconsin are dismissed without prejudice;

5.   Plaintiffs’ consumer protection claims arising under the laws of Alaska, Arkansas,

     Connecticut, District of Columbia, Hawaii, Idaho, Kansas, Maine, Massachusetts,

     Michigan, Minnesota, Missouri, Montana, Nebraska, New Hampshire, Rhode Island,

     South Dakota, Utah, Vermont, and West Virginia are dismissed with prejudice; and

6.   Plaintiffs may file a letter with the Court within fifteen days that demonstrates leave to

     amend the pleadings is warranted, which the Court will then consider.




Date: 8/18/2023                                             KATE M. FOGARTY, CLERK
